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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA



United States of America                                   2:20-cr-00344-JAD-DJA


vs.                                                        MINUTES OF THE COURT

Kenton Hardy King                                          DATE: 06/21/2024


PRESENT: Honorable Jennifer A. Dorsey, U.S. District Judge

DEPUTY CLERK: Summer Rivera                 REPORTER: Patricia Ganci

COUNSEL FOR PLAINTIFF(S): Steven Rose and Jean Ripley

COUNSEL FOR DEFENDANT(S): Joanne Diamond and Rebecca Levy

PROCEEDINGS: Jury Trial - Day 3

8:50 AM Court convenes outside the presence of the jury. All parties are present.

Housekeeping matters are addressed.

9:01 AM The jury enters the courtroom.

DETECTIVE JARED SPANGLER, being previously sworn, resumes the stand on direct
examination by Ms. Ripley. The witness is excused.

DANNY ARIAS, is sworn and testifies on direct examination on behalf of the Government by
Mr. Rose. The witness is excused.

HAYLEY STEIN, is sworn and testifies on direct examination on behalf of the Government by
Ms. Ripley.

10:30 AM The jury is admonished and excused for the morning break. Court stands at recess.

10:41 AM Court reconvenes. The jury enters the courtroom.

HAYLEY STEIN, being previously sworn, resumes the stand on direct examination by Ms.
Ripley. EXHIBIT 37 is marked and admitted. Cross examination is conducted by Ms. Diamond.

11:44 AM The jury is admonished and excused for a short break. Court stands at recess.
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11:52 AM Court reconvenes. The jury enters the courtroom.

HAYLEY STEIN, being previously sworn, resumes the stand on redirect. The witness is
excused.

The Court read the unredacted version of stipulation (ECF No. 187) into the record.

12:04 PM The jury is admonished and excused for lunch.

Housekeeping matters are discussed outside the presence of the jury.

12:08 PM Court stands at recess.

12:36 PM Court reconvenes outside the presence of the jury. Housekeeping matters are
discussed.

12:53 PM The jury enters the courtroom.

PATRICK FARRELL, is sworn and testifies on direct examination on behalf of the
Government by Mr. Rose. EXHIBIT 15-25 are marked and admitted. The witness is excused.

Government rests its case-in-chief.

1:04 PM The jury is admonished and excused for a break.

Defense makes an oral Rule 29 motion. Arguments are presented. As stated on the record, the
Court DENIES the motion.

1:42 PM The court stands at recess.

1:53 PM Court reconvenes outside the presence of the jury.

JESSIE MOOREHEAD, is sworn and called by the defense to proffer.

2:10 PM The jury enters the courtroom and is admonished and excused for the day.

Defendant is sworn and canvassed. Defendant advises that he will not testify.

The Court and parties review and discuss jury instructions.

3:20 PM Court Adjourns.
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Jury Trial continued to Monday, June 24,2024, at 8:30 AM in Courtroom 6D before Judge
Jennifer A. Dorsey.




                                          DEBRA K. KEMPI, CLERK
                                          United States District Court
                                          By: ________ _/s/_______ ______
                                          Summer Rivera, Deputy Clerk
